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           Case 3:10-cr-04794-BTM                       Document 148            Filed 09/28/15               PageID.703            Page 1 of 5
     '%AO 245D (CASO) (Rev. 8/11) Judgment in a Criminal Case for Revocations
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                   Sheet 1
                                                                                                                                            2 8 2015
                                                                                                                                  lEHI'\ v.~~-tTISTRICT COUHT
                                                                                                                                   Ef1N DISTflier OF CALIF()HNIJ~
                                              UNITED STATES DISTRICT COURT                                                                               DEPUTY

                                                    SOUTHERN DISTRICT OF CALIFORNIA
                      UNITED STATES OF AMERICA                                  JUDGMENT IN A CRIMINAL CASE
                                         V.                                     (For Revocation of Probation or Supervised Release)
                     PHILIP ANDREW CARSON [1]                                   (For Offenses Committed On or After November I, 1987)


                                                                                Case Number: IOCR4794-BTM

                                                                                 MARK ADAMS
                                                                                 Defendant's Attorney
    REGISTRATION No. 24090298
D
    THE DEFENDANT:
     IZladmitted guilt to violation ofallegation(s) No ...:1..;-2=-_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

     o was found in violation of allegation(s) No.                                                        after denial of guilt

    ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following allegation(s):


    Allegation Number                         Nature of Violation
               I              Unauthorized use of a device to access the internet
               2              Committed a federal, state or local offense




       Supervised Release      is revoked and the defendant is sentenced as provided in pages 2 through                 __5_        of this judgment
    This sentence is imposed pursuant to the Sentencing Reform Act of 1984.


             IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any
    change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
    fully paid. If ordered to pay restitution, the defendant shall notify the court and Umted States Attorney of any material change in the
    defendant's economic circumstances.

                                                                                SEPTEMBER 25,2015
                                                                                Date of Imposition of Sentence




                                                                                  ~reJ 1Ittde~
                                                                                HON. BARRY TE DMOSKOWITZ
                                                                                UNITED STATES DISTRICT JUDGE




                                                                                                                                        I OCR4794-BTM
     Case 3:10-cr-04794-BTM                          Document 148     Filed 09/28/15            PageID.704            Page 2 of 5
AO 2458      (Rev. 9/00) Judgment in Criminal Case
             Sheet 2 - Imprisonment

                                                                                                    Judgment - Page      2      of        5
DEFENDANT: PHILIP ANDREW CARSON [I]
CASE NUMBER: IOCR4794-BTM
                                                              IMPRISONMENT

          The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
          FOUR (4) MONTHS.



   o The court makes the following recommendations to the Bureau of Prisons:
                                                                                                  ~~~~
                                                                                                    ARRTDMOSKOWITZ
                                                                                                   UNITED STATES DISTRICT JUDGE




    o The defendant is remanded to the custody of the United States Marshal.
    o The defendant shall surrender to the United States Marshal for this district:
            Oat                                       Do·m.    Q.m.      on
                as notified by the United States Marshal.

   D The defendant shall surrender for service of sentence at the institution designated by the BW'eau of Prisons:
      D before
      D as notified by the United States Marshal.
           D as notified by the Probation or Pretrial Services Office.

                                                                RETURN

I have executed this judgment as follows:

          Defendant delivered on                                                     to

at _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.


                                                                                                 UNiTED STATES MARSHAL

                                                                      By
                                                                           ------------~D~E~P~U~TY~U~N~IT~E~D~S~T~A~T~E~s7M~A~R~S~H~A7L-----------




                                                                                                                              IOCR4794-BTM
         Case 3:10-cr-04794-BTM                  Document 148              Filed 09/28/15           PageID.705            Page 3 of 5
AO 245D (CASD) (Rev. 8111) Judgment in a Criminal Case for Revocations
           Sheet 3 - Supervised Release
                                                                                                            Judgment-Page        3     of        5
DEFENDANT: PHILIP ANDREW CARSON [I]                                                                 a
CASE NUMBER: IOCR4794-BTM
                                                        SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
FIVE (5) YEARS.

         The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Prisons.
The defendant shalt not commit another federal, state or local crime.
For offenses committed on or aflerSeptember 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements wilt not exceed submission of more than 4 drug tests per month during
the term of supervision, unless otherwise ordered by court.                                          ---

D The above drug testing condition is suspended, based on the court's detennination that the defendant poses a low risk of
        future substance abuse. (Check, if applicable.)

181 The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
181 The defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
    Backlog Elimination Act of2000, pursuant to 18 USC sections 3563(a)(7) and 3583(d).
181 The  defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.c. § 16901, et seq.) as directed
    by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides, works, is a student, or
        was convicted of a qualifying offense. (Check if applicable.)
D       The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)

          If this judgment imposes a fine or restitution obligation, it is a condition of supervised release that the defendant pay any such fine
or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of Payments set
forth in this judgment.
        The defendant must comply with the standard conditions that have been adopted by this court. The defendant shall also comply with
any special conditions imposed.


                                      STANDARD CONDITIONS OF SUPERVISION
   I)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)     the defendant shalt report to the probation officer in a manner and frequency directed by the court or probation officer;
  3)     the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)     the defendant shall support his or her dependents and meet other family responsibilities;
  5)     the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
         acceptable reasons;
  6)     the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)     the defendant shall refrain from excessive use of alcohol and shal1 not purchase, possess, use, distribute, or administer any
         controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)     the defendant shall not frequent places where controlled substances are iI1egally sold, used, distributed, or administered;
  9)     the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
         a felony, unless granted permission to do so by the probation officer;
 10)     the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
         contraband observed in plain view of the probation officer;
 II)     the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)     the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
         permission of the court; and
 13)     as directed by the probation officer, the defendant shall noti fy third parties of risks that may be occasioned by the defendant's criminal
         record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
         defendant's compliance with such notification requirement.

                                                                                                                                     IOCR4794-BTM
           Case 3:10-cr-04794-BTM                        Document 148     Filed 09/28/15          PageID.706            Page 4 of 5
       AD 245B     (Rev. 9/00) Judgment in a Criminal Case
                   Sheet 4 - Special Conditions
                                                                                                        Judgment-Page      4    of      5
       DEFENDANT: PHILIP ANDREW CARSON [1)                                                          o
       CASE NUMBER: IOCR4794-BTM




                                               SPECIAL CONDITIONS OF SUPERVISION
181 Submit person, property, residence, office or vehicle to a search, conducted by a United States Probation Officer at a reasonable time and in
    a reasonable manner, based upon reasonable suspicion of contraband or evidence of a violation of a condition of release; failure to submit to
    a search may be grounds for revocation; the defendant shall warn any other residents that the premises may be subject to searches pursuant to
    this condition.

181 Participate in a program of drug abuse treatment including testing and counseling, with at least I to 8 tests per month and I to 8 counseling
    sessions per month as directed by the probation officer.
D Not transport, harbor, or assist undocumented aliens.
D Not associate with undocumented aliens or alien smugglers.
D Not reenter the United States illegally.
181 Not enter the Republic of Mexico without written permission of the Court or probation officer.
181 Report all vehicles owned or operated, or in which you have an interest, to the probation officer.
181 Not possess any narcotic drug or controlled substance without a lawful medical prescription, under Federal Law.
181 Not associate with known users of, smugglers of, or dealers in narcotics, controlled substances, or dangerous drugs in any form.
D Participate in a program of mental health treatment as directed by the probation officer. The Court authorizes the release of the pre-sentence
    report and available psychological evaluations to the mental health provider, as approved by the probation officer. The defendant shall
    consent to the release of evaluations and treatment information to the probation officer and the Court by the mental health provider.


D The defendant shall not discontinue mental health medication without written permission of his Doctor.
D Provide complete disclosure of personal and business financial records to the probation officer as requested.
181 Reside in a Residential Reentry Center (RRC) as directed by the probation officer for a period of up to 90 days commencing upon release.
    This is a non-punitive placement.
D Seek and maintain full time employment andlor schooling or a combination of both.
181 Resolve all outstanding warrants within 90 days.
D Complete an Anger Management Program as directed by the Probation Officer within 18 months of release.
181 Not associate with persons the defendant knows to be a member or an associate of a street gang.
D Forthwith Apply for enter and successfully complete a residential drug treatment Program as directed by the Probation Officer.
D If deported, excluded, or allowed to voluntarily leave the United States, obey all laws federal, state and local and not reenter or attempt to
    reenter the United States illegally and report to the probation officer within 72 hours of any reentry to the United States; the other conditions
    of supervision are suspended while the defendant is out of the United States after deportation, exclusion, or voluntary departure.




                                                                                                                                     IOCR4794-BTM
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   AD 2458   (Rev. 9/00) Judgment in a Criminal Case
             Sheet 3 - Continued 2 - Supervised Release

                                                                             Judgment-Page _5_ of _ _5
   DEFENDANT:              PHILIP ANDREW CARSON
   CASE NUMBER:            lOCR4794-BTM

                                  SPECIAL CONDITIONS OF SUPERVISION

 X Consent to third party disclosure to any employer, potential employer, concerning any
restrictions that are imposed by the court.

X Not use or possess devices which can communicate data via modem or dedicated
connection and may not have access to the Internet without prior approval from the
court or the probation officer. The offender shall consent to the installation of
systems that will enable the probation officer to monitor computer use on any
computer owned or controlled by the offender. The offender shall pay for the cost of
installation of the computer software.

X Not have unsupervised contact with any child under the age of 18, unless in the
presence ofa supervising adult (who is aware of the defendant's deviant sexual
behavior and conviction), and with the prior approval of the probation officer.

X Not accept or commence employment or volunteer activity without prior approval of
the probation officer, and employment should be subject to continuous review and
assessment by the probation officer.

X Not loiter within 200 yards of a school, schoolyard, playground, park, amusement
center/park, public swimming pool, arcade, daycare center, carnival, recreation venue,
library and other places frequented by persons under the age of 18, without prior
approval of the probation officer.

X Not possess any materials such as videos, magazines, photographs, computer images
or other matter that depicts "sexually explicit conduct" involving children and/or
adults, as defined by 18 U.S.C. § 2256(2); and not patronize any place where such
materials or entertainment are available.

X Reside in a residence approved in advance by the probation officer, and any changes
in residence shall be pre-approved by the probation officer.

X The defendant shall comply with the requirements ofthe Sex Offender Registration
and Notification Act (42 U.S.C. § 16901, et seq.) as directed by the probation officer,
the Bureau of Prisons, or any other state sex offender registration agency in which he
resides, works, or is a student, or was convicted of a qualifying offense.
